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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

ROBERT (BOB) ROSS,                              §
                                                §
     Plaintiff/Counterclaim Defendant,          §
                                                §
v.                                              §       Civil Action No. 4:22-CV-343-Y
                                                §
ASSOCIATION OF PROFESSIONAL                     §
FLIGHT ATTENDANTS,                              §
MCGAUGHEY, REBER AND                            §
ASSOCIATES, INC., JULIE                         §
HEDRICK, AND ERIK HARRIS,                       §
                                                §
     Defendants/Counterclaim Plaintiff.         §

                ORDER GRANTING MOTION TO TAKE JUDICIAL NOTICE

          Came on before the Court the motion (doc. 39) of defendants Julie Hedrick, Erik Harris and

defendant/counterclaim plaintiff Association of Professional Flight Attendants (“Union Defendants”)

requesting that the Court take judicial notice, pursuant to Federal Rule of Evidence 201, of the issuance

on August 24, 2022, of a supplemental arbitration decision in relation to the above reference case.

As of the date of this order, there has been no response in opposition to the motion. As a result, and

after having considered the motion, the Court concludes that the motion should be and is hereby

GRANTED. Accordingly, the Court takes judicial notice pursuant to Federal Rule of Evidence 201

of the supplemental decision by the Arbitrator, dated August 24, 2022, and titled “SUPPLEMENTAL

DECISION AND REMEDY MODIFICATION,” which was attached as Exhibit 1 to the Union

Defendants’ motion.

          SIGNED September 21, 2022.

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                                                        TERRY R. MEANS
                                                        UNITED STATES DISTRICT JUDGE
